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             BP-A0288               INCIDENT REPORT
             Dept. of Justice / Federal Bureau of Prisons
                                    Part I - Incident Report
1. Institution:      BROOKLYN MDC                                Incident Report Number: 4054697
2. Inmate's Name                        3. Register Number       4. Date of Incident      5. Time
   MINAYA, RAYMOND                       39131-510                     01-15-2025                1800 hrs
6. Place of Incident                    7. Assignment            8. Unit
   I02-628                                  UNASSG                     4 DETC M/W
9. Incident                                                      10. Prohibited Act Code(s)
   108 -- POSSESSING A HAZARDOUS TOOL. 305 -- POSSESSING                108 305
   UNAUTHORIZED ITEM.




11. Description Of Incident
    (Date: 01-15-2025   Time:        1800 hrs   staff became aware of incident)

    On JANUARY 15, 2025, at approximately at 6:00pm, a search was conducted in Housing Unit I-61 on
    cell I02-628 assigned to Inmate MINAYA, RAYMOND, #39131-510 and Inmate Naresh Deonarain Reg.
    No. 08535-510. Throughout, the course of the search of I02-628 a Blue Apple iPhone IMEI:
    351671394268505, and (1) white cellular phone charger were recovered from behind the inmate
    locker. Therefore, Inmate MINAYA, RAYMOND is in violation of code 108 Possessing a hazardous
    tool and violation of code 305 Possessing of unauthorized item. Page 38 of the Inmate Admission
    and Orientation Handbook states that it is an inmate's responsibility to keep their area free of
    contraband.




12. Typed Name/Signature of Reporting Employee                               13. Date And Time
    C Ruiz                                                                         01-15-2025 2020 hrs
14. Incident Report Delivered to Above Inmate By              15. Date Report         16. Time Report
    (Type Name/Signature)                                         Delivered               Delivered
    S. Garcia                                                     01-16-2025              1525 hrs


     The Government Paperwork Elimination Act (GPEA) of 1998 authorized Federal Agencies the use of
     electronic forms, electronic filing, and electronic signatures to conduct office business.

                               Prescribed by P5270                                  Replaces BP-S288.052
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            BP-A0288               INCIDENT REPORT
            Dept. of Justice / Federal Bureau of Prisons
Inmate's Name                               Register Number             Incident Report Number
 MINAYA, RAYMOND                             39131-510                  4054697
                                    Part II - Committee Action
17. Comments of Inmate to Committee Regarding Above Incident
     No statement




18. A. It is the finding of the committee that you:            B. X    The Committee is referring the
                                                                       Charge(s) to the DHO for further
        Committed the Prohibited Act as charged.                       Hearing.
        Did not commit a Prohibited Act.                       C. X    The Committee advised the inmate of
        Committed Prohibited Act Code(s)                               its finding and of the right to file
                                                                       an appeal within 20 calendar days.

19. Committee Decision is based on Specific Evidence as Follows:
     Based on the severity of the report the UDC is referring the report to the DHO for further hearing.




20. Committee action and/or recommendation if referred to DHO (Contingent upon
    DHO finding inmate committed prohibited act)
     Loss of phone privileges.




21. Date And Time Of Action 01-17-2025 1119 hrs  (The UDC Chairman's signature certifies
    who sat on the UDC and that the completed report accurately reflects the UDC
    proceedings.)


  D. Gonzale
__________________________            __________________________            ________________________
Chairman (Typed Name/Signature)       Member (Typed Name)                   Member (Typed Name)




      The Government Paperwork Elimination Act (GPEA) of 1998 authorized Federal Agencies the use of
      electronic forms, electronic filing, and electronic signatures to conduct office business.

                                  Prescribed by P5270                                   Replaces BP-S288.052
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          BP-A0288               INCIDENT REPORT
          Dept. of Justice / Federal Bureau of Prisons
Inmate's Name                            Register Number            Incident Report Number
 MINAYA, RAYMOND                             39131-510              4054697
              Part III - Investigation                      22. Date & Time Investigation Began
                                                                 01-16-2025 1525 hrs
23. Inmate Advised of Right To Remain Silent: You are advised of your right to remain
silent at all stages of the discipline process. Your silence may be used to draw an
adverse inference against you at any stage of the discipline process. Your silence
may not be used to support a finding that you have committed a prohibited act.

    The Inmate Was Advised Of The Above Right By            S. Garcia
    At (Date/time) 01-16-2025 1525 hrs
24. Inmate statement and attitude
    Inmate Minaya # 39131-510 displayed a fair attitude. Inmate Minaya # 39131-510 stated, No comment




25. Other facts about the incident, statements of those persons present at scene,
    disposition of evidence, etc.
    Incident Report -- (BP-A288)
    Incident Report - Photographs -- (BOP-IRPHO)
    All evidence has been uploaded




26. Investigator's comments and conclusions
    Based on the information provided in the body of this report, section 11 does contain enough
    evidence to support the charge. Inmate Minaya # 39131-510 has been appropriately charged with the
    violation of
    108 -- POSSESSING A HAZARDOUS TOOL. 305 -- POSSESSING UNAUTHORIZED ITEM.



27. Action taken
    Incident Report referred to UDC. Investigation/evidence supports charges. Inmate remains in General
    Population.




  Date and Time Investigation Completed: 01-16-2025 1540 hrs

 Printed Name/Signature Of Investigator: S. Lewin

                        Investigator Title: LT




                               Prescribed by P5270                                 Replaces BP-S288.052
